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                   EXHIBIT 2
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1155 AVENUE OF THE AMERICAS, NEW YORK, NY 10036-2711




                                                                                Lee Wolosky
February 17, 2022                                                               Tel +1 212 891 1628
                                                                                LWolosky@Jenner.com
Mr. Jay Wintrob
Chief Executive Officer
Oaktree Capital Management LP
1301 Avenue of the Americas
34th Floor
New York, NY 10019

Mr. Todd Molz
General Counsel and Chief Administrative Officer
Oaktree Capital Management LP
1301 Avenue of the Americas
34th Floor
New York, NY 10019

Dear Messrs. Wintrob and Molz:

We serve as enforcement counsel to United States terrorism victims who are judgment creditors
of Iran and certain instrumentalities of Iran, including the National Iranian Oil Company and the
National Iranian Tanker Corporation (collectively “Iran”). Our clients hold U.S. judgments against
Iran for billions of dollars in compensatory and punitive damages. As set forth with greater
particularity in the attached restraining notices, our clients include certain victims of the September
11, 2001 terrorist attacks, U.S. citizens victimized by Iranian-back terrorist attacks in Israel, and
family members of U.S. citizens tortured and murdered by the Iranian regime in Tehran.

We write in respect of public reports that the SUEZ RAJAN (IMO 9524475), a vessel owned and
controlled by Oaktree Capital Management LP and/or its affiliates (collectively, “Oaktree”), is
currently in possession of Iranian crude oil originating from the Iranian port and oil facility at
Kharg Island. According to public reports, that Iranian crude oil may have been illicitly procured
in a ship-to-ship transfer shortly after the oil left Kharg Island.

The Iranian crude oil that is currently in the custody, ownership or control of Oaktree is subject to
attachment and execution by our clients. We are enclosing restraining notices that prohibit Oaktree
from disposing of that property, and demand that you take steps to turn over those assets (or
proceeds from their sale) to our clients forthwith. We intend to hold Oaktree fully liable for
amounts up to the amounts of our clients’ judgments absent your cooperation or should Oaktree
take steps to frustrate the ability of our clients to take possession of these assets or any proceeds
therefrom.


CHICAGO   LONDON    LOS ANGELES    NEW YORK    SAN FRANCISCO   WASHINGTON, DC         WWW.JENNER.COM
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If you or your counsel would like to discuss this matter, you may reach me at 301-728-6981.

Sincerely,



Lee Wolosky


Enclosures: Restraining Notices
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------x
 Estate of Alice Hoglan, by its Personal Representative,
 Candyce S. Hoglan, et al.,                                             Case Nos.
                                                                        1:11-cv-07550 (GBD)(SN)
                            Plaintiffs-Judgment Creditors,
                                                                        1:03-md-01570 (GBD)(SN)
                            v.
 ISLAMIC REPUBLIC OF IRAN et al,                                        RESTRAINING NOTICE
                            Defendants-Judgment Debtors.                TO GARNISHEE

--------------------------------------------------------------------x

TO:     Oaktree Capital Management, LP
        1301 Avenue of the Americas
        34th Floor
        New York, NY 10019

         WHEREAS, in an action in the United States District Court for the Southern District of
New York captioned as Hoglan, et al. v. Islamic Republic of Iran, et al., Case No. 03-md-1570
(GBD)(SN) and 11-cv-7550 (GBD)(SN) between Alice Hoglan and the other judgment creditors
listed in Exhibit A hereto (the “Hoglan Judgment Creditors”), as plaintiffs, and the Islamic
Republic of Iran, the Iranian Ministry of Information and Security, the Islamic Revolutionary
Guard Corps, the Iranian Ministry of Petroleum, the Iranian Ministry of Economic Affairs and
Finance, the Iranian Ministry of Commerce, the Iranian Ministry of Defense and Armed Forces
Logistics, Bank Markazi, a/k/a the Central Bank of Iran, the National Iranian Petrochemical
Company, the National Iranian Oil Company, the National Iranian Tanker Company, the
National Iranian Gas Company, Iran Air, Ali Akbar Rafsanjani, Ayatollah Ali Hosseini
Khomenei, and Hezbollah (collectively, the “Judgment Debtors”), as defendants, who are all the
parties named in said action, a judgment (a copy of which is annexed hereto as Exhibit B) was
entered pursuant to 28 U.S.C. § 1605A on February 26, 2018 in favor of Hoglan Judgment
Creditors and against Judgment Debtors in the amount of $3,610,326,671 in compensatory
damages, which sum includes pre-judgment interest at the rate of 4.96% per year awarded on the
pain-and-suffering and solatium portions of the compensatory damages (collectively,
$1,372,375,000) from September 11, 2001 through February 26, 2018, in the amount of
$1,673,843,608 plus post-judgment interest on the total sum of compensatory from February 26,
2018 through the date of this Restraining Notice in the amount of $94,643,028, of which
$3,458,640,585.46 remains uncollected, due, and unpaid; and

        WHEREAS, it appears that you owe a debt to a Judgment Debtor, or to one or more
other agencies or instrumentalities of the Islamic Republic of Iran, or are in possession or in
custody of property in which a Judgment Debtor, an agency or instrumentality of the Islamic
Republic of Iran, or an affiliate of a Judgment Debtor, the Islamic Republic of Iran, or an agency
or instrumentality of the Islamic Republic of Iran has an interest,
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        TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 69(a) and New York
Civil Practice Law and Rules § 5222(b), which is set forth below, you are hereby forbidden to
make or suffer any sale, assignment or transfer of, or any interference with, any property in
which a Judgment Debtor, or other agencies or instrumentality of the Islamic Republic of Iran,
have an interest, except as therein provided.

        TAKE FURTHER NOTICE that this notice also covers all property in which a
Judgment Debtor, an affiliate of any Judgment Debtor, or any agency or instrumentality of the
Islamic Republic of Iran has an interest hereafter coming into your possession or custody, and all
debts hereafter coming due from you to a Judgment Debtor, an affiliate of any Judgment Debtor,
or any agency or instrumentality of the Islamic Republic of Iran.

        SECTION 5222(b) OF THE NEW YORK CIVIL PRACTICE LAW AND RULES
Effect of restraint; prohibition of transfer; duration. A judgment debtor or obligor served with a
restraining notice is forbidden to make or suffer any sale, assignment, transfer or interference with
any property in which he or she has an interest, except as set forth in subdivisions (h) and (i) of
this section, and except upon direction of the sheriff or pursuant to an order of the court, until the
judgment or order is satisfied or vacated. A restraining notice served upon a person other than the
judgment debtor or obligor is effective only if, at the time of service, he or she owes a debt to the
judgment debtor or obligor or he or she is in the possession or custody of property in which he or
she knows or has reason to believe the judgment debtor or obligor has an interest, or if the judgment
creditor or support collection unit has stated in the notice that a specified debt is owed by the
person served to the judgment debtor or obligor or that the judgment debtor or obligor has an
interest in specified property in the possession or custody of the person served. All property in
which the judgment debtor or obligor is known or believed to have an interest then in and thereafter
coming into the possession or custody of such a person, including any specified in the notice, and
all debts of such a person, including any specified in the notice, then due and thereafter coming
due to the judgment debtor or obligor, shall be subject to the notice except as set forth in
subdivisions (h) and (i) of this section. Such a person is forbidden to make or suffer any sale,
assignment or transfer of, or any interference with, any such property, or pay over or otherwise
dispose of any such debt, to any person other than the sheriff or the support collection unit, except
as set forth in subdivisions (h) and (i) of this section, and except upon direction of the sheriff or
pursuant to an order of the court, until the expiration of one year after the notice is served upon
him or her, or until the judgment or order is satisfied or vacated, whichever event first occurs.
A judgment creditor or support collection unit which has specified personal property or debt in a
restraining notice shall be liable to the owner of the property or the person to whom the debt is
owed, if other than the judgment debtor or obligor, for any damages sustained by reason of the
restraint. If a garnishee served with a restraining notice withholds the payment of money belonging
or owed to the judgment debtor or obligor in an amount equal to twice the amount due on the
judgment or order, the restraining notice is not effective as to other property or money.




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        TAKE FURTHER NOTICE that disobedience of this Restraining Notice is punishable
as a contempt of court.

      Dated: February 17, 2022



                                               Lee S. Wolosky
                                               JENNER AND BLOCK
                                               1155 Avenue of the Americas
                                               New York, NY 10036
                                               (212) 891-1628
                                               lwolosky@jenner.com

                                               Douglass A. Mitchell (pro hac vice)
                                               JENNER AND BLOCK
                                               1099 New York Avenue, NW, Suite 900
                                               Washington, DC 20001
                                               (202) 639-6090
                                               dmitchell@jenner.com




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                 Exhibit A
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                                    HOGLAN PLAINTIFFS


Aaron Straub
Adam Reiss
Aleese Hartmann Livesey
Alfred Milano
Amanda Rogers
Amy Martinez
Andrew J. Soulas
Angela Mistrulli Cantone
Angelia Stallworth-Blunt
Anita Korsonsky
Arline Peabody-Bane
Audrey Model
Audrey R. Jones
Barbara Dziadek
Barbara Hargrove
Barbara Lurman
Brenda E. Jobe
Brian Major
Briana Grazioso
Brielle Saracini
Candy Moyer
Carl Smith
Carl Stallworth
Carolee Azzarello
Carolee Azzarello
Carolyn Sutton
Cathryn Lostrangio
Charles Gengler
Christian B. Stallworth (f/k/a Brian Christian)
Christine Jackson
Christopher Barton
Christopher Soulas
Cirilo Fernandez
Colleen McDonald
Cynthia Watts
Daniel D. Soulas
Daniel Soulas
Darren Steiner
Deborah Grazioso
Debra Zeplin
Derrick Hobin
Dian Dembinski
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Diana Diaz
Dina LaFond
Douglas Halvorson
Edward A. Straub
Elaina Smith-Wylie
Ellen Schertzer
Emma Fernandez Regan
Eric Nunez
Erich Maerz
Estate of Alice Hoglan a/k/a Hoagland (Candyce S. Hoglan, PR)
Estate of Anne Mistrulli (John Mistrulli and Maria Lambert, Co-Executors)
Estate of Bessie Lebor (Rina Kaufman, PR)
Estate of Beverly Sutton (Keith Bradkowski, PR)
Estate of Carmello J. LoGuidice (Michael LoGuidice Sr., PR)
Estate of Carmen Romero (Diana Diaz, PR)
Estate of Christopher E. Lunder (Karen Lunder, PR)
Estate of Claudia Stallworth (Anthony Hoffman, PR)
Estate of Daniel F. Coffey, Jr. (Daniel D. Coffey MD, PR)
Estate of Deborah Sallad (Raymond A. Smith, PR)
Estate of Emily Lavelle (Patricia Caloia)
Estate of Evan Rosenthal (Loren Rosenthal, PR)
Estate of Evelyn Halvorson (Kate Halvorson, PR)
Estate of Florence Rosenthal (Audrey Model, PR)
Estate of Hweidar Jian (Ju-Hsiu “Connie” Jian, PR)
Estate of Isaac Romero (Diana Diaz, PR)
Estate of James Bond Godshalk (John Haller, PR)
Estate of James Leslie Perry (Joel Perry, PR)
Estate of James Lostrangio (Diane Lostrangio)
Estate of Jeanne McDermott (Peter A. McDermott, PR)
Estate of Jeannette Coffey (Daniel D. Coffey MD, PR)
Estate of Joan Ann Coale (Leslie Brown, PR)
Estate of John ("Jack") Bradish (Lynne Dunn, PR)
Estate of John R. Jones (Candy Moyer, PR)
Estate of Joseph D. Mistrulli (Phyllis Mistrulli, PR)
Estate of Joyce Ann Carpeneto (Joseph L. Carpeneto, PR)
Estate of Leon Lebor (Barbara Lurman, PR)
Estate of Leonard Rosenthal (Audrey Model, PR)
Estate of LeRoy W. Homer, Jr. (Melanie Homer, PR)
Estate of Loretta Haines (Melanie Buchman, PR)
Estate of Louis J. Nacke (Amy Martinez, PR)
Estate of Marc Scott Zeplin (Debra Zeplin, PR)
Estate of Marion Thomas (Raymond A. Smith, PR)
Estate of Mark Kendall Bingham (Candyce S. Hoglan, PR)
Estate of Ranulf Gamboa (Renee L. Gamboa, PR)
Estate of Sandra Grazioso (Carolee Azzarello, PR)
Estate of Sandra Wright Cartledge (Dian Dembinski, PR)
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Estate of Seth Rosenthal (Loren Rosenthal, PR)
Estate of Siew Nya Ang (Kui Liong Lee)
Estate of Susanne Ward-Baker (Michael Paige, PR)
Estate of Timmy Grazioso (Deborah Grazioso, PR)
Estate of Wayne T. Davis (Tanya Davis, PR)
Estate of Wilma Steiner (Robert Steiner, PR)
Ethan Zeplin
Florence Rosario
Frank Milano
Frederick Soulas
Frederick Soulas III
Gabrielle Hunter Davis
Gary Reiss
George Stergiopoulos, Jr.
George W. Steiner
Geraldine Deborah Spaeter
Jane G. Haller
Janice Perry Montoya
Jason Diehl
Jason Ruben Moreno f/k/a Rolando R. Moreno
Jeanee Lee
Jeannette Diehl Bergquist
Jeffrey Tino
Jennifer Reiss
Jesse Melendez
Jessica Milano Starks
Joel R. Perry
John Barton
Johnny S. Mistrulli
Jonathan Reiss
Jonathan Straub
Jordan Reiss
Jordan Steiner
Joseph Carpeneto
Joseph Lostrangio, Jr.
Joseph Mistrulli
Joseph Nicklo
Joy a.k.a Rina Kaufman
Ju-Hsiu "Connie" Jian
Karen Lunder
Karen Ventre
Karen Ventre
Kate Halvorson
Kathleen Palacio
Kathleen Stergiopoulos
Kathryn E. Collman
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Kathryn Grazioso
Keith Bradkowski
Kevin Jian
Kevin Smith
Kirsten Saracini
Korry Smith
Kristen Grazioso
Kristy Grazioso
Kristy Grazioso
Kui Liong Lee
Laurel Homer
Lauren Grazioso
Lea Michaela Bitterman
Leiana Moreno
Leslie Coale Brown
Letricia Smith
Lori Brody
Malachai Roarke Davis
Margaret Montanez
Maria Joule
Maria Lambert
Mary Ann Mistrulli-Rosser
Matt Sloan
Matthew Soulas
Matthew Straub
Maureen Racioppi
Mellanie Chafe
Melodie Homer
Meridith Reverdito
Michael Chirchirillo
Michael Grazioso
Michael Straub
Michaela Havlish
Michelle Donlan
Naomi-Ruth Shefi
Neal Green
Nicholas Chirchirillo
Nicole Soulas
Noelia Moreno
Noverta Davis-Dean
Patricia Caloia
Patricia Sloan
Paul Lavelle
Peter C. Milano
Philomena Mistrulli
Rachel G. Malubay
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Ramon Melendez, Jr.
Raymond Santillan
Raymond Smith, Jr.
Reginald Simpson
Renee L. Gamboa
Richard Fernandez
Ricky Melendez
Robert A. Jones
Robert Steiner
Roosevelt Stallworth
Roy-Yetkutiel Shefi
Ryan Zeplin
Salvatore Papasso
Salvatore Tino, III
Salvatore Tino, Jr.
Samuel Straub
Sarah Funk
Sean Bitterman
Stanley Straub
Stephanie Giglio
Stephen Bradish
Stephen Soulas
Steven Gengler
Susan Bohan
Tanya Davis
Tanya Warren
Theresa Papasso
Thomas Milano
Timothy P. Soulas, Jr.
Tyler Melendez
Vicki Lynn Michel
Victor Santillan
Vincent Papasso
William Jian
Winnee Lee
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                  Exhibit B
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UNITED ST ATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------)(
IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001
                                                                            FINAL ORDER AND
                                                                            JUDGMENT ON
                                                                            COMPENSATORY DAMAGES


                                                                            1:03 MDL 1570 (GBD)(SN)

----------------------------------------------------------------------)(

This Document Relates to
Hoglan v. Iran
1:11-cv-07550 (GBD)(SN)

         WHEREAS, evidence as to liability in this matter was submitted by Plaintiffs in filings

with this Court on July 10, 2015;

         WHEREAS, a hearing on liability was held on August 17, 2015, at which evidence was

presented, including the evidence previously submitted by Plaintiffs in Havlish, et al. v. bin

Laden, eta!., 03-cv-09848 (GBD)(FM) on May 19, 2011, July 13, 2011, August 19, 2011, and

December 15, 2011, in addition to supplemental evidence filed with this Court, including

extensive evidence filed confidentially under seal, and the July 10, 2015 evidence referenced

above, all of which was admitted into evidence in this case;

         WHEREAS, on August 31, 2015, this Court entered Findings of Fact and Conclusions of

Law and further, on that same date, issued an Order of Judgment based on such Findings of Fact

and Conclusions of Law, the evidence presented in support thereof, and the entire record in this

case, thereby entering final judgment as to liability in favor of Plaintiffs and against the

following Defendants:

         1.       Islamic Republic of Iran;

         2.       Ayatollah Ali Hoseini-Khamenei;
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       3.     Ali Akbar Hashemi Rafsanjani;

       4.     Iran's Ministry of Information and Security;

       5.     Islamic Revolutionary Guard Corps;

       6.     Iran's Ministry of Petroleum;

       7.     National Iranian Oil Corporation;

       8.     National Iranian Tanker Corporation;

       9.     National Iranian Gas Company;

       10.    National Iranian Petrochemical Company;

       11.    Iran's Ministry of Commerce;

       12.    Iran's Ministry of Economic Affairs and Finance;

       13.    Iran's Ministry of Defense and Armed Forces Logistics;

       14.    Iran Airlines;

       15.    Central Bank of Iran; and,

       16.    Hezbollah;

       WHEREAS, United States Magistrate Judge Sarah Netburn issued Reports and

Recommendations on October 12, 2016, October 14, 2016, October 24, 2016, and August 8,

2017, with regard to the award of damages;

       WHEREAS, this Court adopted these four Reports and Recommendations in Orders

dated October 31, 2016, June 21, 2017, and November 17, 2017, respectively;

       WHEREAS, this Court entered Partial Final Judgments dated October 31, 2016, June 21,

2017, and November 17, 2017;

       WHEREAS, Plaintiffs have requested that a single Final Judgment with regard to

compensatory damages and prejudgment interest for all of the successful Plaintiffs, and naming



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each of the liable Defendants, be entered in this case, for purposes of clarity for any judgment

enforcement action;

       It is HEREBY

       ORDERED that the final compensatory damages judgment is entered in favor of

Plaintiffs, comprised of the thirteen (13) Decedent's Estate Plaintiffs and the two hundred, three

(203) Individual Family Members Plaintiffs listed in this Order and Judgment, and against all

sixteen (16) Defendants listed above; and, it is FURTHER

       ORDERED that such Plaintiffs are awarded: (1) economic compensatory damages to the

thirteen (13) Decedent's Estate Plaintiffs in the aggregate amount of $469,465,035, as more

specifically set forth below; (2) compensatory damages for pain and suffering of $2,000,000 per

Decedent's Estate Plaintiff for a total of $26,000,000, as more specifically set forth below; (3)

compensatory damages for solatium to the Individual Family Members Plaintiffs totaling

$1,346,3 75,000, as more specifically set forth herein below; and, (4) prejudgment interest on the

amount of $1,372,375,000 awarded herein for compensatory pain and suffering and solatium

damages from September 11, 2001, to the date of judgment at the rate of 4.96 percent per annum,

compounded annually; and, it is FURTHER

       ORDERED that each and every one of the Defendants is jointly and severally liable for

the entire JUDGMENT on compensatory damages; and, it is FURTHER

        ORDERED that Plaintiffs' request for punitive damages is DENIED WITHOUT

PREJUDICE to being considered in conjunction with the same issue in other cases in the multi-

district litigation captioned In Re: Terrorist Attacks on September I I, 2001, 1:03 MDL 1570

(GBD)(SN); and, it is FURTHER




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          ORDERED that the economic compensatory damages and non-economic compensatory

damages awarded to the thirteen (13) Decedent's Estate Plaintiffs are as follows:


                                           ECONOMIC                  PAIN &
                DECEDENT                     LOSS                 St:FFERING          TOTAL AWARD
Estate of Siew Nya Ang                      $7,407,342             $2,000,000           $9,407,342
Estate of Mark Kendall Bingham              $7,617,663             $2,000,000           $9,617,663
Estate of Joyce Ann Carpeneto                $1,926,378            $2,000,000           $3,926,378
Estate of Wayne T. Davis                    $9,388, 123            $2,000,000          $11,388,123
Estate of Timmy Grazioso                   $307,289,003            $2,000,000          $309,289,003
Estate of LeRoy W. Homer, Jr.               $9,281,150             $2,000,000          $11,281, 150
Estate of Hweidar Jian                      $10, 108,875           $2,000,000          $12, 108,875
Estate of Leon Lebor                         $747,568              $2,000,000           $2,747,568
Estate of Christopher E. Lunder             $34,961,894            $2,000,000          $36,961,894
Estate of Joseph D. Mistrulli               $4,999,143             $2,000,000           $6,999,143
Estate of Louis :\Tacke                     $8,185,357             $2,000,000          $10,185,357
Estate of Sandra Wright-Cartledge           $1,132,626             $2,000,000           $3,132,626
Estate of Marc Scott Zeplin                 $66,419,913            $2.000,000          $68,419,913
TOTAL                                      $469,465,035           $26,000,000          $495,465,035;



          AND IT IS FURTHER ORDERED that compensatory damages for solatium for the

Individual Family Members Plaintiffs are awarded as follows:

             DECEDENT                       PLAINTIFF               RELATIONSHIP          SOLATlllM
Mark Kendall Bingham                Alice Hoglan alk!a Hoagland           Parent           $8,500,000
SiewNya Ang                         Kui Liong Lee                         Spouse          $12,500,000
SiewNya Ang                         Winnee Lee                            Child            $8,500,000
SiewNya Ang                         Jeanee Lee                            Child            $8,500,000
Michael Banc                        Arline Peabody-Bane                 Step-Parent        $4,250,000
Michael Bane                        Brian Major                        Step-Sibling        $2,125,000
Michael Bane                        Brenda E. Jobe                     Step-Sibling        $2,125,000
Joyce Ann Carpento                  Joseph Carpento                       Sibling          $4,250,000
Sandra Wright Cartledge             Dian Dembinski                        Sibling          $4,250,000
Sandra Wright Cartledge             Loretta Haines                        Sibling          $4,250,000
Sandra Wright Cartledge             Stephen Bradish                       Sibling          $4,250,000
Sandra Wright Cartledge             Jack Bradish                          Sibling          $4,250,000
Sandra Wright Cartledge             Geraldine Deborah Spaeter             Sibling          $4,250,000
Peter Chirchirillo                  Nicholas Chirchirillo                  Child           $8,500,000
Peter Chirchirillo                  Michael Chirchirillo                   Child           $8,500,000
Jeffrey Coale                       JoanAnn Coale                         Parent           $8,500,000

Jeffrey Coale                       Leslie Coale Brown                    Sibling          $4,250,000

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Daniel M. Coffey            Jeanette Coffey                      Parent      $8,500,000
Daniel M. Coffey            Estate of Daniel F. Coffey, Jr.      Parent      $8,500,000
Jason Cotlcy                Colleen McDonald                    Fiancee      $12,500,000
Jeffrey Collman             Estate of Beverly Sutton             Parent      $8,500,000
Jeffrey Collman             Carolyn Sutton                      Sibling      $4,250,000
Jeffrey Collman             Vicki Lynn Michel                   Sibling      $4250,000
Jeffrey Collman             Keith Bradkowski                    Spouse       $12,500,000
Jeffrey Collman             Kathryn Collman                   Step-Parent    $4,250,000
Jeffrey Collman             Charles Gengler                   Step-Sibling   $2,125,000
Jeffrey Collman             Steven Gengler                    Step-Sibling   $2, 125,000
Jeffrey Collman             Susan Bohan                       Step-Sibling   $2,125,000
Wayne T. Davis              Tanya Davis                         Spouse       $12,500,000
Wayne T. Davis              Gabrielle Hunter Davis               Child       $8,500,000
Wayne T. Davis              Malachai Roarke Davis                Child       $8,500,000
Wayne T. Davis              Noverta Davis-Dean                  Parent       $8,500,000
Michael Diehl               Jason Diehl                          Child       $8,500,000
Michael Diehl               Jeannette Diehl                      Child       $8,500,000
Judy Fernandez              Emma Fernandez Regan                Sibling      $4,250,000
Judy Fernandez              Cirilo Fernandez                    Parent       $8,500,000
Judy Fernandez              Richard Fernandez                   Sibling      $4,250,000
Ronald Gamboa               Renee L. Gamboa                     Parent       $8,500,000
Ronald Gamboa               Estate of Ranulf Gamboa             Parent       $8,500,000
Ronald Gamboa               Maria Joule                         Sibling      $4,250,000
Ronald Gamboa               Rachel G. Malubay                   Sibling      $4,250,000
William Godshalk            James Bond Godshalk                 Parent       $8,500,000
William Godshalk            Jane G. Haller                      Sibling      $4,250,000
William Godshalk            Aleese Hartmann                     Fiancee      $12,500,000
John Grazioso               Kathryn Grazioso                     Child       $8,500,000
John Grazioso               Kristen Grazioso                     Child       $8,500,000
John Grazioso               Michael Grazioso                     Child       $8,500,000
John Grazioso               Sandra Grazioso                     Parent       $8,500,000
John Grazioso               Carolee Azzarello                   Sibling      $4,250,000
John Grazioso               Karen Ventre                        Sibling      $4250,000
John Grazioso               Krysty Grazioso                     Sibling      $4,250,000
Timmy Grazioso              Deborah Grazioso                    Spouse       $12,500,000
Timmy Grazioso              Sandra Grazioso                     Parent       $8,500,000
Timmy Grazioso              Carolee Azzarello                   Sibling      $4,250,000
Timmy Grazioso              Lauren Grazioso                      Child       $8,500,000
Timmy Grazioso              Briana Grazioso                      Child       $8,500,000
Timmy Grazioso              Karen Ventre                        Sibling      $4,250,000
Timmy Grazioso              Krysty Grazioso                     Sibling      $4,250,000
James Halvorson             Douglas Halvorson                    Child       $8,500,000
James Halvorson             Estate of Evelyn Halvorson           Parent      $8,500,000


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James Halvorson              Kate I lalvorson             Sibling     $4,250,000
Donald J. Havlish            Michaela I Iavlish            Child      $8,500,000
Donald G. Havlish            Lea Michaela Bitterman      Step-Child   $8,500,000
Donald G. Havlish            Sean Bitterman              Step-Child   $8,500,000
James Jeffery Hobin          Derrick Hobin                 Child      $8,500,000
LeRoy W. Homer, Jr.          Melodic Homer                Spouse      $12,500,000
LeRoy W. Homer, Jr.          Laurel Homer                  Child      $8,500,000
Hweidar Jian                 Ju-Hsiu .Tian                Spouse      $12,500,000
llwcidar Jian                William Jian                  Child      $8,500,000
Hweidar Jian                 Kevin Jian                    Child      $8,500,000
Donald W. Jones              Audrey R. Jones              Parent      $8,500,000
Donald W. Jones              John R. Jones                Parent      $8,500,000
Donald W. Jones              Robert A Jones               Sibling     $4,250,000
Donald W. Jones              Candy Moyer                  Sibling     $4,250,000
Jeanette LaFond-Menchino     Anita Korsonsky              Sibling     $4,250,000
Jeanette LaFond-Menchino     Dina Lafond                  Parent      $8,500,000
Denis Lavelle                Estate of Emily Lavelle      Parent      $8,500,000
Denis Lavelle                Patricia Caloia              Sibling     $4,250,000
Denis Lavelle                Barbara Dziadek              Sibling     $4,250,000
Denis Lavelle                Kathleen Palacio             Sibling     $4,250,000
Denis Lavelle                Paul Lavelle                 Sibling     $4,250,000
Leon Lebor                   Bessie Lebor                 Parent      $8,500,000
Leon Lebor                   Barbara Lurman                Child      $8,500,000
Leon Lebor                   Joy a.k.a Rina Kaufman       Sibling     $4,250,000
Robert Levine                Stephanie Giglio              Child      $8,500,000
                             Estate of Carmello Joseph
Catherine Lisa LoGuidice     LoGuidice                    Parent      $8,500,000
Joseph Lostrangio            Joseph Lostrangio, Jr.        Child      $8,500,000
Joseph Lostrangio            Cathryn Lostrangio            Child      $8,500,000
Joseph Lostrangio            James Lostrangio             Parent      $8,500,000
Christopher E. Lunder        Karen Lunder                 Spouse      $12,500,000
Noell Maerz                  Erich Maerz                  Sibling     $4,250,000
Mary Melendez                Ramon Melendez                Child      $8,500,000
Mary Melendez                Ricky Melendez                Child      $8,500,000
Mary Melendez                Jesse Melendez                Child      $8,500,000
Mary Melendez                Tyler Melendez                Child      $8,500,000
Mary Melendez                Florence Rosario             Sibling     $4,250,000
Mary Melendez                Margaret Montanez            Sibling     $4,250,000
Peter T. Milano              Peter C. Milano               Child      $8,500,000
Peter T. Milano              Jessica Milano                Child      $8,500,000
Peter T. Milano              Alfred Milano                Sibling     $4,250,000
Peter T. Milano              Frank Milano                 Sibling     $4,250,000
Peter T. Milano              Maureen Racioppi             Sibling     $4,250,000


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Peter T. Milano              Thomas Milano                  Sibling   $4,250,000
Joesph D. Mistrulli          Philomena Mistrulli            Spouse    $12,500,000
Joesph D. Mistrulli          MaryAnn Mistrulli              Child     $8,500,000
Joesph D. Mistrulli          Joseph Mistrulli               Child     $8,500,000
Joesph D. Mistrulli          Angela Mistrulli Cantone       Child     $8,500,000
Joesph D. Mistrulli          Ann Mistrulli                  Parent    $8,500,000
Joesph D. Mistrulli          Maria Lambert                  Sibling   $4,250,000
Joesph D. Mistrulli          Johnny Mistrulli               Sibling   $4,250,000
Yvette Moreno                Rolando Ruben Moreno           Sibling   $4,250,000
Yvette Moreno                Leiana Moreno                  Sibling   $4,250,000
Yvette Moreno                Noelia Moreno                  Sibling   $4,250,000
Louis Nacke                  Amy Martinez                   Spouse    $12,500,000
Brian Nunez                  Eric Nunez                     Sibling   $4,250,000
Brian Nunez                  Neal Green                     Sibling   $4,250,000
Salvatore T. Papasso         Theresa Papasso                Parent    $8,500,000
Salvatore T. Papasso         Salvatore Papasso              Parent    $8,500,000
Salvatore T. Papasso         Vincent Papasso                Sibling   $4,250,000
John Perry                   James Perry                    Parent    $8,500,000
John Perry                   Joel R. Perry                  Sibling   $4,250,000
John Perry                   Jan ice Perry                  Sibling   $4,250,000
Marsha Ratchford             Claudia Stallworth             Parent    $8,500,000
Marsha Ratchford             Reginald Simpson               Sibling   $4,250,000
Marsha Ratchford             Roosevelt Stallworth           Sibling   $4,250,000
Marsha Ratchford             Carl Stallworth                Sibling   $4,250,000
Marsha Ratchford             Cynthia Watts                  Sibling   $4,250,000
Marsha Ratchford             Angela Stallworth-Blunt        Sibling   $4,250,000
Marsha Ratchford             Brian Christian                Sibling   $4,250,000
Marsha Ratchford             Amanda Rogers                  Sibling   $4,250,000
Joshua Reiss                 Gary Reiss                     Parent    $8,500,000
Joshua Reiss                 Adam Reiss                     Sibling   $4,250,000
Joshua Reiss                 Jordan Reiss                   Sibling   $4,250,000
Joshua Reiss                 Jonathan Reiss                 Sibling   $4,250,000
Joshua Reiss                 Jennifer Reiss                 Sibling   $4,250,000
Elvin Romero                 Estate of Carmen Romero        Parent    $8,500,000
Elvin Romero                 Issac Romero                   Parent    $8,500,000
Elvin Romero                 Diana Diaz                     Sibling   $4,250,000
Richard Rosenthal            Estate of Evan Rosenthal       Child     $8,500,000
Richard Rosenthal            Seth Rosenthal                 Child     $8,500,000
Richard Rosenthal            Estate of Leonard Rosenthal    Parent    $8,500,000
Richard Rosenthal            Estate of Florence Rosenthal   Parent    $8,500,000
Richard Rosenthal            Audrey Model                   Sibling   $4,250,000
Maria Theresa Santillan      Victor Santillan               Sibling   $4,250,000
Maria Theresa Santillan      Raymond Santillan              Sibling   $4,250,000

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Victor Saracini              Kirsten Saracini               Child      $8,500,000
Victor Saracini              Brielle Saracini               Child      $8,500,000
Scott Schertzer              Lori Brody                    Sibling     $4,250,000
Scott Schertzer              Ellen Schertzer               Parent      $8,500,000
Hagay Shefi                  Roy-Yetkutiel Shefi            Child      $8,500,000
Hagay Shefi                  Naomi-Ruth Shefi               Child      $8,500,000
Paul K. Sloan                Patricia Sloan                Parent      $8,500,000
Paul K. Sloan                Matt Sloan                    Sibling     $4,250,000
Paul K. Sloan                Sarah Funk                    Sibling     $4,250,000
George Smith                 Raymond Smith, Jr.            Sibling     $4,250,000
George Smith                 Carl Smith                    Sibling     $4.250,000
George Smith                 Kevin Smith                   Sibling     $4,250,000
George Smith                 Korry Smith                   Sibling     $4,250,000
George Smith                 Tanya Warren                  Sibling     $4,250,000
George Smith                 Latricia Smith                Sibling     $4,250,000
George Smith                 Elaine Smith                  Sibling     $4,250,000
George Smith                 Christine Jackson             Sibling     $4,250,000
George Smith                 Barbara Hargrove              Sibling     $4.250.000
George Smith                 Estate of Deborah Sallad      Sibling     $4,250,000
George Smith                 Estate of Marion Thomas     Grandparent   $8.500,000
Timothy Soulas               Timothy P. Soulas, Jr.         Child      $8,500,000
Timothy Soulas               Andrew J. Sou las              Child      $8,500,000
Timothy Soulas               Christopher Soulas             Child      $8,500,000
Timothy Soulas               Matthew Soulas                 Child      $8,500,000
Timothy Soulas               Nicole Soulas                  Child      $8,500.000
Timothy Soulas               Daniel Soulas                  Child      $8,500.000
Timothy Soulas               Frederick Soulas              Parent      $8,500,000
Timothy Soulas               Stephen Soulas                Sibling     $4,250,000
Timothy Soulas               Frederick Soulas III          Sibling     $4,250,000
Timothy Soulas               Dan Soulas                    Sibling     $4,250,000
Timothy Soulas               Michelle Donlan               Sibling     $4,250,000
William Steiner              Darren Steiner                 Child      $8,500,000
William Steiner              Jordan Steiner                 Child      $8.500,000
William Steiner              Meridith Reverdito             Child      $8,500,000
William Steiner              Estate of Wilma Steiner       Parent      $8,500,000
William Steiner              Robert Steiner                Sibling     $4,250,000
William Steiner              George Steiner                Sibling     $4,250,000
Andrew Stergiopoulos         Kathleen Stergiopoulos        Sibling     $4.250,000
Andrew Stcrgiopoulos         George Stergiopoulos, Jr.     Sibling     $4,250,000
Edward W. Straub             Aaron Straub                   Child      $8,500,000
Edward W. Straub             Jonathan Straub                Child      $8,500,000
Edward W. Straub             Michael Straub                 Child      $8,500,000
Edward W. Straub             Samuel Straub                  Child      $8,500,000

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Edward W. Straub                    Edward Straub                      Parent        $8,500,000
Edward W. Straub                    Stanley Straub                     Sibling       $4,250,000
Edward W. Straub                    Matthew Straub                     Sibling       $4,250,000
Jennifer Tino                       Salvatore Tino, Jr.                Parent        $8,500,000
Jcnnifor Tino                       Jeffrey Tino                       Sibling       $4250,000
Jennifer Tino                       Salvatore Tino, III                Sibling       $4,250,000
.Jeanmarie Wallendorf               Joseph Nicklo                      Sibling       $4,250,000
Jeanmarie Wallendorf                Mellanie Chafe                     Sibling       $4,250,000
Jeanmarie Wallendorf                Christopher Barton                 Sibling       $4,250,000
Jeanmarie Wallendorf                John Barton                        Sibling       $4,250,000
Timothy Ward                        Estate of Susanne Ward-Baker       Parent        $8,500,000
William Wilson                      Jeanne McDermott                   Sibling       $4,250,000
Marc Scott Zeplin                   Debra Zcplin                       Spouse        $12,500,000
Marc Scott Zeplin                   Ryan Zeplin                         Child        $8,500,000
Marc Scott Zeplin                   Ethan Zeplin                        Child        $8,500,000
TOTAL                                                                              $1,346,375,000;



AND IT IS FURTHERMORE

         ORDERED that Plaintiffs shall forthwith serve a copy of this Final Order and Judgment

on Compensatory Damages on the Defendants.

         This is a final, appealable order. See Fed.R.Civ.P. 54(b); Fed.R.App.P.(4)(a).




                                                              SO ORDERED.


                 IFEB 2 3 2018
          New York, New York                                  G       . DANIELS
                                                              u        ATES DISTRICT JUDGE




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                                         EXEMPTION NOTICE
                                     as required by New York Law
                 YOUR BANK ACCOUNT IS RESTRAINED OR “FROZEN”
        The attached Restraining Notice or notice of Levy by Execution has been issued against
your bank account. You are receiving this notice because a creditor has obtained a money judgment
against you, and one or more of your bank accounts has been restrained to pay the judgment. A
money judgment is a court’s decision that you owe money to a creditor. You should be aware that
FUTURE DEPOSITS into your account(s) might also be restrained if you do not respond to this
notice.

       You may be able to “vacate” (remove) the judgment. If the judgment is vacated, your bank
account will be released. Consult an attorney (including free legal services) or visit the court clerk
for more information about how to do this.

        Under state and federal law, certain types of funds cannot be taken from your bank account
to pay a judgment. Such money is said to be “exempt.”

     DOES YOUR BANK ACCOUNT CONTAIN ANY OF THE FOLLOWING TYPES OF
FUNDS?

               1. Social security;

               2. Social security disability (SSD);

               3. Supplemental security income (SSI);

               4. Public assistance (welfare);

               5. Income earned while receiving SSI or public assistance;

               6. Veterans benefits;

               7. Unemployment insurance;

               8. Payments from pensions and retirement accounts;

               9. Disability benefits;

               10. Income earned in the last 60 days (90% of which is exempt);

               11. Workers’ compensation benefits;

               12. Child support;
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               13. Spousal support or maintenance (alimony);

               14. Railroad retirement; and/or

               15. Black lung benefits.

      If YES, you can claim that your money is exempt and cannot be taken. To make the claim,
you must

               (a) complete the EXEMPTION CLAIM FORM attached;

               (b) deliver or mail the form to the bank with the restrained or “frozen” account;
               and

               (c) deliver or mail the form to the creditor or its attorney at the address listed on
               the form.

        You must send the forms within 20 DAYS of the postmarked date on the envelope holding
this notice. You may be able to get your account released faster if you send to the creditor or its
attorney written proof that your money is exempt. Proof can include an award letter from the
government, an annual statement from your pension, pay stubs, copies of checks, bank records
showing the last two months of account activity, or other papers showing that the money in your
bank account is exempt. If you send the creditor’s attorney proof that the money in your account
is exempt, the attorney must release that money within seven days. You do not need an attorney to
make an exemption claim using the form.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------x
 Estate of Alice Hoglan, by its Personal Representative,
 Candyce S. Hoglan, et al.,                                              Case Nos.
                                                                         1:03-cv-09848 (GBD)(FM)
                            Plaintiffs-Judgment Creditors,               1:03-md-01570 (GBD)(SN)
                            v.
 ISLAMIC REPUBLIC OF IRAN et al,                                         EXEMPTION CLAIM FORM

                            Defendants-Judgment Debtors.
--------------------------------------------------------------------x

 NAME AND ADDRESS OF JUDGMENT CREDITOR                                  NAME AND ADDRESS OF
 OR ATTORNEY                                                            FINANCIAL INSTITUTION

ADDRESS A:                                                              ADDRESS B:

Lee S. Wolosky                                                          Oaktree Capital Management, LP
Jenner & Block LLP                                                      1301 Avenue of the Americas
1155 Avenue of the Americas                                             34th Floor
New York, NY 10036                                                      New York, NY 10019



Directions: To claim that some or all of the funds in your account are exempt, complete both copies of
this form, and make one copy for yourself. Mail or deliver one form to ADDRESS A and one form to
ADDRESS B within twenty days of the date on the envelope holding this notice. **If you have any
documents, such as an award letter, an annual statement from your pension, paystubs, copies of checks
or bank records showing the last two months of account activity, include copies of the documents with
this form. Your account may be released more quickly.

I state that my account contains the following type(s) of funds (check all that apply):

 ....       Social security

....        Social security disability (SSD)

....        Supplemental security income (SSI)

 ....       Public assistance

 ....       Wages while receiving SSI or public assistance

 ....       Veterans benefits
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....       Unemployment insurance

....       Payments from pensions and retirement accounts

....       Income earned in the last 60 days (90% of which is exempt)

....       Child support

....       Spousal support or maintenance (alimony)

....       Workers’ compensation

....       Railroad retirement or black lung benefits

....       Other (describe exemption):_________________________


I request that any correspondence to me regarding my claim be sent to the following address:


                               (FILL IN YOUR COMPLETE ADDRESS)




I certify under penalty of perjury that the statement above is true to the best of my knowledge and
belief.

                                               _______________________________________
DATE                                           SIGNATURE OF JUDGMENT DEBTOR
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                    NOTICE TO JUDGMENT DEBTOR OR OBLIGOR

                                 Required by NY CPLR 5222(e)

      Money or property belonging to you may have been taken or held in order to satisfy a
judgment or order which has been entered against you. Read this carefully.

                   YOU MAY BE ABLE TO GET YOUR MONEY BACK

         State and federal laws prevent certain money or property from being taken to satisfy
judgments or orders. Such money or property is said to be “exempt”. The following is a partial
list of money which may be exempt:

              1. Supplemental security income, (SSI);

              2. Social security;

              3. Public assistance (welfare);

              4. Spousal support, maintenance (alimony) or child support;

              5. Unemployment benefits;

              6. Disability benefits;

              7. Workers’ compensation benefits;

              8. Public or private pensions;

              9. Veterans benefits;

              10. Ninety percent of your wages or salary earned in the last sixty days;

              11. Twenty-five hundred dollars of any bank account containing statutorily
              exempt payments that were deposited electronically or by direct deposit within
              the last forty-five days, including, but not limited to, your social security,
              supplemental security income, veterans benefits, public assistance, workers’
              compensation, unemployment insurance, public or private pensions, railroad
              retirement benefits, black lung benefits, or child support payments;

              12. Railroad retirement; and

              13. Black lung benefits.

      If you think that any of your money that has been taken or held is exempt, you must act
promptly because the money may be applied to the judgment or order. If you claim that any of
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your money that has been taken or held is exempt, you may contact the person sending this
notice.
        Also, YOU MAY CONSULT AN ATTORNEY, INCLUDING ANY FREE LEGAL
SERVICES ORGANIZATION IF YOU QUALIFY. You can also go to court without an
attorney to get your money back. Bring this notice with you when you go. You are allowed to try
to prove to a judge that your money is exempt from collection under New York civil practice law
and rules, sections fifty-two hundred twenty-two-a, fifty-two hundred thirty-nine and fifty-two
hundred forty. If you do not have a lawyer, the clerk of the court may give you forms to help you
prove your account contains exempt money that the creditor cannot collect. The law (New York
civil practice law and rules, article four and sections fifty-two hundred thirty-nine and fifty-two
hundred forty) provides a procedure for determination of a claim to an exemption.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------x
 Fiona Havlish, et al.,
                                                                        Case Nos.
                            Plaintiffs-Judgment Creditors,
                                                                        1:03-cv-09848 (GBD)(SN)
                            v.
                                                                        1:03-md-01570 (GBD)(SN)
 ISLAMIC REPUBLIC OF IRAN et al,
                            Defendants-Judgment Debtors.                RESTRAINING NOTICE
                                                                        TO GARNISHEE

--------------------------------------------------------------------x

TO:     Oaktree Capital Management, LP
        1301 Avenue of the Americas
        34th Floor
        New York, NY 10019

         WHEREAS, in an action in the United States District Court for the Southern District of
New York captioned as Havlish, et al. v. Osama bin Laden, et al., Case No. 03-md-1570
(GBD)(SN) and 03-cv-9849 (GBD)(SN) between Fiona Havlish and the other judgment creditors
listed in Exhibit A hereto (the “Havlish Judgment Creditors”), as plaintiffs, and the Islamic
Republic of Iran, the Iranian Ministry of Information and Security, the Islamic Revolutionary
Guard Corps, the Iranian Ministry of Petroleum, the Iranian Ministry of Economic Affairs and
Finance, the Iranian Ministry of Commerce, the Iranian Ministry of Defense and Armed Forces
Logistics, Bank Markazi, a/k/a the Central Bank of Iran, the National Iranian Petrochemical
Company, the National Iranian Oil Company, the National Iranian Tanker Company, the
National Iranian Gas Company, Iran Air, Ali Akbar Rafsanjani, Ayatollah Ali Hosseini
Khomenei, and Hezbollah (collectively, the “Judgment Debtors”), as defendants, who are all the
parties named in said action, a judgment (a copy of which is annexed hereto as Exhibit B) was
entered pursuant to 28 U.S.C. § 1605A on October 16, 2012 in favor of Havlish Judgment
Creditors and against Judgment Debtors in the amount of $2,330,277,884 in compensatory
damages, which sum includes pre-judgment interest at the rate of 4.96% per year awarded on the
pain-and-suffering and solatium portions of the compensatory damages (collectively,
$968,000,000) from September 11, 2001 through October 16, 2012, in the amount of
$689,014,012.85, plus the amount of $4,686,235,921 in punitive damages, plus post-judgment
interest on the total sum of compensatory and punitive damages from October 16, 2012 through
the date of this Restraining Notice in the amount of $114,189,429, for a total amount of
$6,851,717,247, of which $6,841,918,139.26 remains uncollected, due, and unpaid; and

        WHEREAS, it appears that you owe a debt to a Judgment Debtor, or to one or more
other agencies or instrumentalities of the Islamic Republic of Iran, or are in possession or in
custody of property in which a Judgment Debtor, an agency or instrumentality of the Islamic
Republic of Iran, or an affiliate of a Judgment Debtor, the Islamic Republic of Iran, or an agency
or instrumentality of the Islamic Republic of Iran has an interest,
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        TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 69(a) and New York
Civil Practice Law and Rules § 5222(b), which is set forth below, you are hereby forbidden to
make or suffer any sale, assignment, or transfer of, or any interference with, any property in
which a Judgment Debtor, or other agencies or instrumentality of the Islamic Republic of Iran,
have an interest, except as therein provided.

        TAKE FURTHER NOTICE that this notice also covers all property in which a
Judgment Debtor, an affiliate of any Judgment Debtor, or any agency or instrumentality of the
Islamic Republic of Iran has an interest hereafter coming into your possession or custody, and all
debts hereafter coming due from you to a Judgment Debtor, an affiliate of any Judgment Debtor,
or any agency or instrumentality of the Islamic Republic of Iran.

        SECTION 5222(b) OF THE NEW YORK CIVIL PRACTICE LAW AND RULES
Effect of restraint; prohibition of transfer; duration. A judgment debtor or obligor served with a
restraining notice is forbidden to make or suffer any sale, assignment, transfer or interference with
any property in which he or she has an interest, except as set forth in subdivisions (h) and (i) of
this section, and except upon direction of the sheriff or pursuant to an order of the court, until the
judgment or order is satisfied or vacated. A restraining notice served upon a person other than the
judgment debtor or obligor is effective only if, at the time of service, he or she owes a debt to the
judgment debtor or obligor or he or she is in the possession or custody of property in which he or
she knows or has reason to believe the judgment debtor or obligor has an interest, or if the judgment
creditor or support collection unit has stated in the notice that a specified debt is owed by the
person served to the judgment debtor or obligor or that the judgment debtor or obligor has an
interest in specified property in the possession or custody of the person served. All property in
which the judgment debtor or obligor is known or believed to have an interest then in and thereafter
coming into the possession or custody of such a person, including any specified in the notice, and
all debts of such a person, including any specified in the notice, then due and thereafter coming
due to the judgment debtor or obligor, shall be subject to the notice except as set forth in
subdivisions (h) and (i) of this section. Such a person is forbidden to make or suffer any sale,
assignment or transfer of, or any interference with, any such property, or pay over or otherwise
dispose of any such debt, to any person other than the sheriff or the support collection unit, except
as set forth in subdivisions (h) and (i) of this section, and except upon direction of the sheriff or
pursuant to an order of the court, until the expiration of one year after the notice is served upon
him or her, or until the judgment or order is satisfied or vacated, whichever event first occurs.
A judgment creditor or support collection unit which has specified personal property or debt in a
restraining notice shall be liable to the owner of the property or the person to whom the debt is
owed, if other than the judgment debtor or obligor, for any damages sustained by reason of the
restraint. If a garnishee served with a restraining notice withholds the payment of money belonging
or owed to the judgment debtor or obligor in an amount equal to twice the amount due on the
judgment or order, the restraining notice is not effective as to other property or money.




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        TAKE FURTHER NOTICE that disobedience of this Restraining Notice is punishable
as a contempt of court.

      Dated: February 17, 2022



                                               Lee S. Wolosky
                                               JENNER AND BLOCK
                                               1155 Avenue of the Americas
                                               New York, NY 10036
                                               (212) 891-1628
                                               lwolosky@jenner.com

                                               Douglass A. Mitchell (pro hac vice)
                                               JENNER AND BLOCK
                                               1099 New York Avenue, NW, Suite 900
                                               Washington, DC 20001
                                               (202) 639-6090
                                               dmitchell@jenner.com




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                  Exhibit A
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                                    HAVLISH PLAINTIFFS

Estate of Andrew Stergiopoulos
Estate of Brian Nunez
Estate of Daniel M. Coffey
Estate of Denis Lavelle
Estate of Donald G. Havlish, Jr.
Estate of Dorothy Mauro
Estate of Edward W. Straub
Estate of Elvin Romero
Estate of George Eric Smith
Estate of James D. Halvorson
Estate of Jason Coffey
Estate of Jeanmarie Wallendorf
Estate of Jeffrey Coale
Estate of Jeffrey Collman
Estate of Jennifer Tino
Estate of John Grazioso
Estate of John M. Rodak
Estate of John William Perry
Estate of Joseph Lostrangio
Estate of Joshua Scott Reiss
Estate of Judy Fernandez
Estate of Liming Gu
Estate of Maria Theresa Santillan
Estate of Marsha Ratchford
Estate of Martin Boryczewski
Estate of Mary Melendez
Estate of Meta Waller
Estate of Michael A. Bane
Estate of Michael Diehl
Estate of Paul K. Sloan
Estate of Peter Chirchirillo
Estate of Peter T. Milano
Estate of Philip Paul Ognibene
Estate of Richard M. Caproni
Estate of Richard Rosenthal
Estate of Robert Levine
Estate of Salvatore T. Papasso
Estate of Scott Schertzer
Estate of Stephen Dorf
Estate of Steven Cafiero
Estate of Timothy P. Soulas
Estate of Timothy Raymond Ward
Estate of Ann Marie Dorf
Estate of Anne C. Saracini
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Estate of Donald G. Havlish, Sr.
Estate of Ester Santillan
Estate of Expedito Santillan
Estate of Grace Parkinson Godshalk
Estate of Jack Donald Bane
Estate of Krystyna Boryczewski
Estate of Linda Ellen Panik
Estate of Michael Boryczewski
Estate of Morris Dorf
Estate of Patricia J. Perry
Estate of Ralph S. Maerz, Jr.
Estate of Ronald Gamboa
Estate of Roni Levine
Estate of Victor Saracini
Estate of Vincent A. Ognibene
Estate of William Coale
Estate of William Godshalk
Estate of William R. Steiner
Estate of Yvette Nicole Moreno
Alan Gu
Alexander Rowe
Alice Carpeneto
Angela Stergiopoulos
Barry Russin
Brenda Martin (Previously Sorenson)
Brian Collman
Catherine DeBlieck
Charles Collman
Chelsea Nicole Rodak Primavera
Christina Bane-Hayes
Christine Barton
Christine Papasso
Christopher Caproni
Clara Chirchirillo
Corazon Fernandez
Daniel D. Coffey, M.D.
Daniel D. Coffey, M.D.
Devon Marie Rodak
Diane Romero
Dolores Caproni
Dwayne W. Collman
Ed Russin
Ellen Saracini
Fiona Havlish
Frances M. Coffey
Frances M. Coffey
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FuMei Chien Huang
George Stergiopoulos, M.D.
Gerald Bingham
Gloria Russin
Grace Kneski
Haomin Jian (Alex Jian)
Helen Rosenthal
Hui-Chien Chen
Hui-Chuan Jian
Huichun Jian
Hui-Zon Jian
Ivy Moreno
Jin Liu
Joan E. Tino
Joanne Gori
JoAnne Lovett
Joanne Renzi
John Rodak
Joseph Dorf
Joslin Paradise
Joyce Ann Rodak
Judith Reiss
Julia Boryczewski
Katherine Soulas
Kevin M. Coffey
Kevin M. Coffey
Leona Zeplin
Leonard Zeplin
Linda Sammut
Lisa Caproni-Brown
Livia Chirchirillo
Loisanne Diehl
Loren Rosenthal
Maranda C. Ratchford
Margaret Mauro
Marie Ann Paprocki
Marshae R. Ratchford
Martin Panik
Mary Lynn-Anna Panik Stanley ("Martina")
Maureen Halvorson
Michael Caproni
Michael LoGuidice Sr
Michele Boryczewski
Michelle Dorf
Michelle Wright
Pamela Schiele
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Patricia Milano
Paul Schertzer
Ramon Melendez
Raymond Alexander Smith
Regina Maria Merwin
Regina Rodak
Richard A. Caproni
Robert Dorf
Rodney M. Ratchford
Rodney Ratchford
Ronald S. Sloan
Russa Steiner
Sandra Straub
Stephen L. Cartledge
Susan Conklin
Tara Bane
Theresanne Lostrangio
Tina Grazioso
William (Bill) Havlish
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                  Exhibit B
Case
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                                         EXEMPTION NOTICE
                                     as required by New York Law
                 YOUR BANK ACCOUNT IS RESTRAINED OR “FROZEN”
        The attached Restraining Notice or notice of Levy by Execution has been issued against
your bank account. You are receiving this notice because a creditor has obtained a money judgment
against you, and one or more of your bank accounts has been restrained to pay the judgment. A
money judgment is a court’s decision that you owe money to a creditor. You should be aware that
FUTURE DEPOSITS into your account(s) might also be restrained if you do not respond to this
notice.

       You may be able to “vacate” (remove) the judgment. If the judgment is vacated, your bank
account will be released. Consult an attorney (including free legal services) or visit the court clerk
for more information about how to do this.

        Under state and federal law, certain types of funds cannot be taken from your bank account
to pay a judgment. Such money is said to be “exempt.”

     DOES YOUR BANK ACCOUNT CONTAIN ANY OF THE FOLLOWING TYPES OF
FUNDS?

               1. Social security;

               2. Social security disability (SSD);

               3. Supplemental security income (SSI);

               4. Public assistance (welfare);

               5. Income earned while receiving SSI or public assistance;

               6. Veterans benefits;

               7. Unemployment insurance;

               8. Payments from pensions and retirement accounts;

               9. Disability benefits;

               10. Income earned in the last 60 days (90% of which is exempt);

               11. Workers’ compensation benefits;

               12. Child support;
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               13. Spousal support or maintenance (alimony);

               14. Railroad retirement; and/or

               15. Black lung benefits.

      If YES, you can claim that your money is exempt and cannot be taken. To make the claim,
you must

               (a) complete the EXEMPTION CLAIM FORM attached;

               (b) deliver or mail the form to the bank with the restrained or “frozen” account;
               and

               (c) deliver or mail the form to the creditor or its attorney at the address listed on
               the form.

        You must send the forms within 20 DAYS of the postmarked date on the envelope holding
this notice. You may be able to get your account released faster if you send to the creditor or its
attorney written proof that your money is exempt. Proof can include an award letter from the
government, an annual statement from your pension, pay stubs, copies of checks, bank records
showing the last two months of account activity, or other papers showing that the money in your
bank account is exempt. If you send the creditor’s attorney proof that the money in your account
is exempt, the attorney must release that money within seven days. You do not need an attorney to
make an exemption claim using the form.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------x
 FIONA HAVLISH, et al.,
                                                                         Case Nos.
                            Plaintiffs-Judgment Creditors,
                                                                         1:03-cv-09848 (GBD)(FM)
                            v.
                                                                         1:03-md-01570 (GBD)(SN)
 ISLAMIC REPUBLIC OF IRAN et al,
                            Defendants-Judgment Debtors.                 EXEMPTION CLAIM FORM


--------------------------------------------------------------------x

 NAME AND ADDRESS OF JUDGMENT CREDITOR                                  NAME AND ADDRESS OF
 OR ATTORNEY                                                            FINANCIAL INSTITUTION

ADDRESS A:                                                              ADDRESS B:

Lee S. Wolosky                                                          Oaktree Capital Management, LP
Jenner & Block LLP                                                      1301 Avenue of the Americas
1155 Avenue of the Americas                                             34th Floor
New York, NY 10036                                                      New York, NY 10019



Directions: To claim that some or all of the funds in your account are exempt, complete both copies of
this form, and make one copy for yourself. Mail or deliver one form to ADDRESS A and one form to
ADDRESS B within twenty days of the date on the envelope holding this notice. **If you have any
documents, such as an award letter, an annual statement from your pension, paystubs, copies of checks
or bank records showing the last two months of account activity, include copies of the documents with
this form. Your account may be released more quickly.

I state that my account contains the following type(s) of funds (check all that apply):

 ....       Social security

....        Social security disability (SSD)

....        Supplemental security income (SSI)

 ....       Public assistance

 ....       Wages while receiving SSI or public assistance

 ....       Veterans benefits
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....       Unemployment insurance

....       Payments from pensions and retirement accounts

....       Income earned in the last 60 days (90% of which is exempt)

....       Child support

....       Spousal support or maintenance (alimony)

....       Workers’ compensation

....       Railroad retirement or black lung benefits

....       Other (describe exemption):_________________________


I request that any correspondence to me regarding my claim be sent to the following address:


                               (FILL IN YOUR COMPLETE ADDRESS)




I certify under penalty of perjury that the statement above is true to the best of my knowledge and
belief.

                                               _______________________________________
DATE                                           SIGNATURE OF JUDGMENT DEBTOR
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                    NOTICE TO JUDGMENT DEBTOR OR OBLIGOR

                                 Required by NY CPLR 5222(e)

      Money or property belonging to you may have been taken or held in order to satisfy a
judgment or order which has been entered against you. Read this carefully.

                   YOU MAY BE ABLE TO GET YOUR MONEY BACK

         State and federal laws prevent certain money or property from being taken to satisfy
judgments or orders. Such money or property is said to be “exempt”. The following is a partial
list of money which may be exempt:

              1. Supplemental security income, (SSI);

              2. Social security;

              3. Public assistance (welfare);

              4. Spousal support, maintenance (alimony) or child support;

              5. Unemployment benefits;

              6. Disability benefits;

              7. Workers’ compensation benefits;

              8. Public or private pensions;

              9. Veterans benefits;

              10. Ninety percent of your wages or salary earned in the last sixty days;

              11. Twenty-five hundred dollars of any bank account containing statutorily
              exempt payments that were deposited electronically or by direct deposit within
              the last forty-five days, including, but not limited to, your social security,
              supplemental security income, veterans benefits, public assistance, workers’
              compensation, unemployment insurance, public or private pensions, railroad
              retirement benefits, black lung benefits, or child support payments;

              12. Railroad retirement; and

              13. Black lung benefits.

      If you think that any of your money that has been taken or held is exempt, you must act
promptly because the money may be applied to the judgment or order. If you claim that any of
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your money that has been taken or held is exempt, you may contact the person sending this
notice.
        Also, YOU MAY CONSULT AN ATTORNEY, INCLUDING ANY FREE LEGAL
SERVICES ORGANIZATION IF YOU QUALIFY. You can also go to court without an
attorney to get your money back. Bring this notice with you when you go. You are allowed to try
to prove to a judge that your money is exempt from collection under New York civil practice law
and rules, sections fifty-two hundred twenty-two-a, fifty-two hundred thirty-nine and fifty-two
hundred forty. If you do not have a lawyer, the clerk of the court may give you forms to help you
prove your account contains exempt money that the creditor cannot collect. The law (New York
civil practice law and rules, article four and sections fifty-two hundred thirty-nine and fifty-two
hundred forty) provides a procedure for determination of a claim to an exemption.
